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                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JAMIE LEE ANDREWS, as                   *
Surviving Spouse of                     *
MICAH LEE ANDREWS, Deceased,            *      CIVIL ACTION FILE
and JAMIE LEE ANDREWS, as               *
Administrator of the Estate of          *      NO. 1:14-CV-03432-SCJ
MICAH LEE ANDREWS, Deceased,            *
                                        *
      Plaintiff,                        *
                                        *
v.                                      *
                                        *
AUTOLIV JAPAN, LTD.,                    *
                                        *
      Defendant.                        *

PLAINTIFF’S RESPONSE TO AUTOLIV’S MOTION TO AMEND THE
JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR NEW TRIAL

      On January 31, Law360 ran an article about Autoliv’s posttrial motion.1

Gabriella Ekelund, a senior vice president of communications, spoke for the

defendant. Ms. Ekelund, however, does not work in Japan with “Autoliv Japan,

Ltd.” She works in Stockholm, Sweden, where Autoliv AB is headquartered.2 In

an official statement emailed to Law360, Autoliv proclaimed “final judgment



1
  Humberto J. Rocha, Autoliv Says $100M Punitive Damage Award ‘Excessive,’
Law360, https://www.law360.com/articles/1459950 (attached as Exhibit 1).
2
  Gabriella Ekelund, LinkedIn, https://www.linkedin.com/in/gabriella-ekelund-
0218b110/ (attached as Exhibit 2).
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should be modified in several respects for the reasons set forth in our motion.”3

Whenever “Autoliv Japan, Ltd.” speaks in court or to the public about this case, it

always does so through someone who works for another Autoliv, Inc. subsidiary.

As the Court already concluded, since Autoliv does not distinguish between

Autoliv entities, this Court should not either. Doc. 534 at 93.

      Autoliv’s posttrial motion is just the latest example of Autoliv’s frivolity.

Litigiousness pays. That’s why it’s such a problem. Autoliv escaped trial for 7½

years and has still not paid anything for killing Micah Andrews. It is a pure fact:

Autoliv has profited off its litigiousness. Assuming a modest investment return on

investments of 6% annually, Autoliv has made money by paying lawyers to litigate

rather than paying Plaintiff—even if the interest is simple rather than compound.4

                                INTRODUCTION

      The Court presided over the trial of this case, which included five days of

testimony, 16 witnesses, and dozens of exhibits. The Court then issued a detailed,

96-page Final Order and Judgment containing its findings of fact and conclusions

of law with careful citations to the record. Despite its overwhelming evidentiary



3
  Id. (emphasis added).
4
  To illustrate, consider the interest on $25 million. At 6% per year, Autoliv earns
$1.5 million per year. In the 7½ years since Plaintiff filed this case, Autoliv’s
interest on that $25 million would be $11.25 million.

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support, Autoliv attacks the Final Order and Judgment as “counterintuitive,”

“excessive,” “improper,” and representing a “manifest injustice.” Doc. 543 at 1, 2,

35. It tells the Court that “the evidence in this case does not authorize any award

of punitive damages as a matter of Georgia law” and that the punitive damages

award “should be eliminated altogether.” Doc. 543 at 1.

      Punitive damages are not just “authorized” in this case—they are required to

deter and punish Autoliv. Autoliv’s motion proves that fact: it is unrepentant, it

takes no responsibility, and it has no remorse. It continues to blame Mazda for

choosing to buy the defective seatbelt that Autoliv designed, manufactured, and

sold. See, e.g., Doc. 543 at 9 (“Autoliv Japan supplied the subject seatbelt to a

sophisticated consumer who was fully aware of alternative options”). Instead of

complying with the postsale duty to warn, Autoliv persists in pretending there is

nothing wrong with its seatbelt. Doc. 534 at 86-87. Autoliv’s motion is replete

with indignation and devoid of contrition.

      Autoliv is strictly liable for Mr. Andrews’ death because it designed,

manufactured, and sold the defective seatbelt that killed him. It is subject to

punitive damages because it knew its seatbelt was far below industry standards, it

knew about the danger to people like Mr. Andrews, and it was utterly indifferent to

the risk and foreseeable consequences of its own actions. Doc. 534 at 82-87.


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Autoliv did nothing to make sure its seatbelt worked in real-world collisions,

despite knowing that airbags fail and that its seatbelt would not protect people

when that happened. Instead, Autoliv suggested a design change that made the

seatbelt weaker as part of a cost-savings program. Autoliv’s seatbelt was not

simply defective, it was an extreme outlier that allowed more than twice the

spoolout of any other car in its class. Autoliv knew that. Despite knowing about

its seatbelt’s many problems, Autoliv’s corporate representative testified that

“Mazda was not concerned, so we [Autoliv] weren’t concerned.” Doc. 534 at 31.5

The Court’s punitive damages award is both amply supported by the evidence and

constitutionally permissible.

                                LEGAL STANDARDS

      Autoliv’s posttrial motion to amend the judgment or, in the alternative, for

new trial should be denied because Autoliv cannot meet the standards for relief.

      Rule 52(b) permits the Court to amend its findings or make additional filings

and to amend the judgment in response to a party’s motion. But the Court should

do so only “to correct plain errors of law or fact, or, in limited situations, to allow

the parties to present newly discovered evidence, but not to allow the relitigation


5
 The Court, however, found that Mazda was concerned. Yet Autoliv presented no
evidence or argument at trial that it ever provided Mazda with Autoliv’s expert
advice on how to solve the problem with the seatbelt. Doc. 534 at 31.

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of old issues, a rehearing on the merits, or the presentation of new theories of the

case.” Hannover Ins. Co. v. Dolly Trans Freight, Inc., No. 6:05-cv-576, 2007 WL

170788, at *2 (M.D. Fla. Jan. 18, 2007) (emphasis added). Rule 52(b) motions,

like motions for new trial, “are to be granted sparingly, and only when dispositive

factual matters or controlling decisions of law were brought to the Court’s

attention, but not considered.” Id. (emphasis added).

      Rule 59(e) allows a party to move to alter or amend a judgment. “The only

grounds for granting [a Rule 59(e)] motion are newly-discovered evidence or

manifest errors of law or fact.” In re Kellogg, 197 F.3d 1116, 1119 (11th Cir.

1999) (emphasis added). A Rule 59(e) motion is no substitute for an appeal and

thus cannot be used “to relitigate old matters, [or] raise argument or present

evidence that could have been raised prior to the entry of judgment.”6 See Jacobs

v. Tempur-Pedic Int’l, Inc., 626 F.3d 1327, 1344 (11th Cir. 2010); Michael Linet,

Inc. v. Village of Wellington, Fla., 408 F.3d 757, 763 (11th Cir. 2005).




6
 Plaintiff does not address each of the arguments that the Court explicitly
addressed in its Final Order and Judgment because of space limitations. See, e.g.,
Doc. 534 at 50-54; 44-45 (addressing Autoliv’s causation argument).

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                                  ARGUMENT

I.    AUTOLIV’S CONDUCT IS REPREHENSIBLE, AND PUNITIVE
      DAMAGES ARE NECESSARY TO PUNISH AND DETER IT.

      The evidence is “clear and convincing,”—in fact, it is overwhelming—that

Autoliv’s actions constituted “reckless and wanton misconduct” and “that entire

want of care which would raise the presumption of conscious indifference to

consequences.” See Doc. 534 at 86; O.C.G.A. § 51-12-5.1. Autoliv’s motion is

just a rehash of its failed trial arguments, which Rules 52 and 59 do not allow. See

Jacobs, 626 F.3d at 1344. But Autoliv’s motion illustrates why punitive damages

are necessary. Plaintiff thus focuses her response on why.

      The Court knows the facts of this case well. Autoliv designed,

manufactured, and sold a seatbelt it knew would spool out excessively in a

foreseeable 35-mph impact when the airbag failed to deploy. Doc. 534 at 33. In

the 35-mph NCAP crash test, the Autoliv seatbelt in the Mazda3 spooled out 16.85

inches. Doc. 534 at 27. That was nearly twice the amount of spoolout as the

second-worst performer. PX 9; Doc. 534 at 27; see also id. (describing Mr.

Meyer’s testimony on how far below industry standard this seatbelt was). The

crash test dummy in the NCAP test was belted and the airbag deployed, but the

dummy’s head still went through the airbag and hit the steering wheel because the

seatbelt was so weak. See Doc. 534 at 27. “The undisputed evidence shows that in

                                         6
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terms of providing restraint and preventing an occupant’s forward movement

toward structures inside the car, the Autoliv seatbelt in Mr. Andrews’s car was by

far the worst—an extreme outlier.” Doc. 534 at 27; see also id. (“Plaintiff’s

seatbelt expert, Mr. Meyer, testified that the seatbelt was ‘weak,’ allowed a ‘gross

amount of pay-out,’ and was ‘literally the lowest’ kilonewton bar seatbelt he had

‘ever seen’ in his thirty years of investigating car crashes.”)

      During the long life of this litigation, Autoliv has falsely claimed it had no

role in causing this weak seatbelt to be incorporated into the Mazda3 and was

helpless to influence the design. It makes that argument again in its posttrial

motion: “component suppliers (like Autoliv Japan) cannot deviate from the

instructions included with the engineering specifications provided by vehicle

manufacturers (like Mazda).” Doc. 543 at 11. This statement is stunning because

it starkly contradicts the actual evidence of Autoliv’s role as a component supplier

and the Court’s findings of fact.

      Most evidence of Autoliv’s duties as a component supplier comes from

Autoliv’s own documents and the testimony of its witness. Autoliv’s statement of

work for the Mazda3 program states it has a duty regarding addressing defects,

development quality, and conforming with the user’s needs. Doc. 534 at 81; PX 11

(Statement of Work); PX 54 (Basic Trading Agreement). Chris Caruso—an expert


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on Autoliv’s witness list—testified that Autoliv was “obligated to work directly

with Mazda to address defects in the seatbelt, like the excessive spool out

problem.” Doc. 534 at 30. Mr. Caruso testified that Autoliv had a duty of due care

to share its “superior knowledge about [its] products and how they perform with

the goal of getting the system to work right in the real world,” but it failed to do so.

Doc. 534 at 36.

      Autoliv was responsible for reviewing and studying the data from testing

done by Mazda. Doc. 534 at 31. In 2002, Mazda wrote to Autoliv asking for

Autoliv’s help because computer testing showed occupants would hit their heads

on the steering wheel in the NCAP test. Doc. 534 at 31. “Autoliv presented no

evidence that it provided such help.” Doc. 534 at 31.7

      Autoliv’s documents reveal that in 2002 it discussed internally that the

seatbelt was not meeting its targets, and Mazda intended to strengthen it. Autoliv,

however, never told Mazda to use a different, safer seatbelt to protect people. Doc.

543 at 31. Autoliv’s sled test showed that in a 31-mph wreck without an airbag,



7
  Autoliv complains that the Court relied upon PX 128 without addressing its
second page. Autoliv’s corporate representative speculated that in this email
Autoliv asked Mazda if the computer simulation was run at the wrong speed. It is
unclear why Autoliv thinks that helps its position. There was no evidence that
Mazda responded to Autoliv’s question or that Autoliv responded to Mazda’s
request for help.

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the amount of seatbelt spoolout exceeded the distance between the driver and the

steering wheel. Doc. 534 at 33. Despite all this knowledge, Autoliv warned no

one of the dangers it knew existed in its seatbelt. Doc. 534 at 36-37.

         Autoliv presented no evidence at trial that it ever proposed a single change

to the seatbelt that would have made it safer. Doc. 534 at 31. Instead, in

December 2001, Autoliv suggested a change to the seatbelt that made it even

weaker than was originally planned. Doc. 534 at 30-31. This suggestion was part

of a “cost reduction” effort. Doc. 534 at 34.

         Autoliv recycles its claim that it could not prevent Mazda from buying its

defective seatbelt—which means Autoliv has still not gotten the message that it has

a responsibility not to sell dangerously defective seatbelts that will kill people.

Autoliv must be punished and deterred to avoid future deaths and injuries.

Leaving the Court’s punitive damages award intact is the only way to do so.

         Autoliv also argues that because it “complied with applicable safety

regulations,” it cannot be subject to punitive damages, citing Stone Man v. Green,

435 S.E.2d 205, 206 (Ga. 1993). Doc. 543 at 4. That argument fails for two

reasons. First, Autoliv did not comply with any “applicable” safety regulation

because there are no safety regulations governing torsion bar strength.8


8
    As the Court notes, the Eleventh Circuit has said, “[w]e do not, naturally, dismiss

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      Second, the Court explicitly considered this argument and correctly found

that “an award of punitive damages is not precluded by compliance with industry

standards because there is evidence that shows willful misconduct and that entire

want of care that would raise the presumption of conscious indifference to the

consequences.” Doc. 534 at 82. Courts have repeatedly held that, under Georgia

law, a defendant cannot escape liability for punitive damages simply because it

complied with federal safety standards.9 Despite compliance with federal

regulations, punitive damages are warranted if there is evidence of “culpable

behavior.”10 The evidence demonstrates Autoliv’s abundant “culpable behavior.”



a manufacturer’s compliance with industry standards, but we must also remember
that those standards may sometimes merely reflect an industry’s laxness,
inefficiency, or inattention to innovation.” Doc. 534 at 82 (quoting Elliott v.
Brunswick Corp., 903 F.2d 1505, 1508 (11th Cir. 1990) (citations omitted)). That
observation is certainly true of NHTSA, the agency that oversees and promulgates
the federal minimum standards for automobiles.
9
  Barger v. Garden Way, Inc., 499 S.E.2d 737, 743 (Ga. Ct. App. 1998) (“[A]
manufacturer’s proof of compliance with industry-wide practices, state of the art,
or federal regulations does not eliminate conclusively its liability for its design of
allegedly defective products.”), disapproved of on other grounds by Johns v.
Suzuki Motor of Am., Inc., 850 S.E.2d 59 (Ga. 2020).
10
   Mascarenas v. Cooper Tire & Rubber Co., 643 F. Supp. 2d 1363, 1374 (S.D. Ga.
2009) (The Stone Man rule “is not hard and fast, particularly where the
manufacturer’s conduct shows some wanton or otherwise culpable behavior.
Cooper cannot escape liability for punitive damages as a matter of law just because
it complied with the applicable federal safety standards.”); Reid v. BMW of N. Am.,
430 F. Supp. 2d 1365, 1374 (N.D. Ga.), amended on reconsideration in part, 464
F. Supp. 2d 1267 (N.D. Ga. 2006) (“[E]ven if there are applicable regulations or

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The Court’s Order devoted 11 pages to the evidence supporting its conclusion that

“Autoliv’s conduct amounted not only to an entire want of care and conscious

indifference to the consequences,” but also “reckless and wanton misconduct.”

Doc. 534 at 86; id. 77-87.

      Autoliv also persists in blaming Mazda for buying Autoliv’s defective

seatbelt—despite the Eleventh Circuit’s holding that it is unlawful to manufacture

and sell defective products, even if an automaker orders it. See Doc. 534 at 40;

309 at 3. Autoliv’s corporate representative and Autoliv’s engineer for the subject

seatbelt both agreed: Autoliv did not have to sell this seatbelt to Mazda. Doc. 534

at 33, 48. Autoliv, however, considered it “indispensable” that Mazda choose

Autoliv for the Mazda3 restraint system. 10/6/21 PM Trial Tr. 82/24-83/7.

      Autoliv suggests—incorrectly—that when the manufacturer complies with

federal regulations, Georgia law allows punitive damages only if the manufacturer

was motivated by “economic considerations.” Doc. 543 at 4. That rule simply

does not exist—as already noted, even if a manufacturer has complied with the

federal regulations, punitive damages are appropriate if there is evidence of

culpable conduct. See supra at 10 nn.9-10. The evidence proved that when



standards and the BMW defendants complied with such regulations, other evidence
showing culpable behavior can still justify an award of punitive damages.”).

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Autoliv sold the seatbelt it knew the seatbelt was defective; it knew that airbags

fail in foreseeable wrecks; and it knew that if the airbag failed, the seatbelt would

be useless. Doc. 534 at 33, 79. Selling a defective seatbelt is an economic choice.

The only reason to do so was to keep Mazda’s “indispensable” business and the

money it brings.

      Repeating another argument the Court rejected, Autoliv mischaracterizes the

evidence as simply showing a difference of “opinion” among experts about how to

strike a “balance” and make the appropriate “tradeoff” in designing the seatbelt to

try to suggest Autoliv had a “good faith and honest belief” that the seatbelt was not

defective. Doc. 543 at 3, 5-7. Nothing could be further from the truth. First, the

evidence was that this seatbelt was an extreme outlier, and not the result of some

reasonable engineering judgment. Mr. Meyer testified that there is no benefit to a

seatbelt that spools out like the Autoliv seatbelt. 10/6/21 PM Trial Tr. 143/4-13.

Autoliv’s “persist[ance] in insisting there is nothing wrong with that seatbelt . . . is

without merit in light of the evidence presented at trial.” Doc. 534 at 86-87.

      Second, for Autoliv to suggest that it believed in “good faith” that the

seatbelt was safe is risible: the evidence showed that Mazda was concerned about

the seatbelt’s performance, Autoliv possessed test results showing the seatbelt’s

poor performance, and Autoliv sold Volvo a seatbelt three times stronger for the


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Volvo S40—a car built on the same platform as the Mazda3.

      Third, Autoliv has no evidence that it was trying to “strike a balance” in

designing its seatbelt. Instead, it falsely claims it had no control over the design.

Autoliv’s abandonment of its duty to make sure its seatbelt would work in real-

word crashes (or even to make sure the seatbelt “struck a balance” of safety) is

itself one reason punitive damages are justified. See supra at 7-8.

      Fourth, Autoliv’s motion conveniently omits the testimony of Autoliv’s

handpicked corporate representative David Prentkowski. Through Mr.

Prentkowski, Autoliv admitted that the seatbelt—the safety device that is supposed

to restrain occupants—was useless to protect Mr. Andrews. Doc. 534 at 85.

Autoliv admitted that before the Mazda3, the lowest strength it offered the retractor

at was 2.5 kN, but it nonetheless sold Mazda a seatbelt that was even lower than

the lowest strength it designed the retractor to have. Doc. 534 at 83-84. Autoliv’s

representative summarized why Autoliv did nothing to make sure its seatbelt

would work in real-world collisions: “Mazda was not concerned, so we weren’t

concerned.” Doc. 534 at 31. That is explicit, direct testimony from Autoliv that it

consciously disregarded the safety of people relying on its seatbelt.

      Autoliv claims that it cannot be liable for punitive damages without evidence

of “the frequency with which airbags fail to deploy in crashes presenting a


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materially similar risk of serious head injuries.” Doc. 543 at 8. Again, Autoliv has

fabricated a “rule” that has no support in Georgia law. Worse, Autoliv’s argument

presumes there is an acceptable mortality rate for its useless seatbelt. Plaintiff,

however, introduced evidence of numerous instances in which airbags will

foreseeably fail. 10/6/21 AM Trial Tr. 34/6-45/10. Autoliv’s website even

acknowledged that airbags are not always available in every crash. PX 1

(“Seatbelts . . . help to properly position occupants to maximize the airbag’s

benefits and—unlike airbags—they also protect occupants in multiple-collision

crashes.”). And Autoliv itself admitted numerous times that it knows airbags fail

to deploy when they should. See, e.g., Doc. 534 at 12; Doc. 543 at 12.

      Autoliv knew how weak the seatbelt was, how poorly it performed in

testing, how much it would spool out without an airbag, and that two people have

filed lawsuits for serious injuries they allege arose from the seatbelt’s defects. Yet

it presented no evidence that it monitors the seatbelt’s performance in real-world

collisions. Doc. 534 at 85. Autoliv also did nothing to make sure the airbag would

work, knowing that the seatbelt that would be useless without an airbag in a 35-

mph impact. 10/4/21 PM Trial Tr. 58/5-15. Autoliv has not notified NHTSA or

Georgians about the defect, nor has it told Mazda to do so. Given that Autoliv

knew how terrible its seatbelt was, it had a duty to do something to find out how


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many lives would be lost because of it. But it did nothing to discover that

information. That was “reckless and wanton.” Doc. 534 at 85.

II.   THE COURT’S PUNITIVE DAMAGES AWARD IS CORRECT.

      Autoliv says a punitive damages award over $4 million is unconstitutional.

That is nonsense. A $4 million punitive damages award cannot achieve the

purpose of punitive damages: to “punish, penalize, and deter” Autoliv from future

misconduct. O.C.G.A. § 51-12-51.1(c). Four million dollars is pocket change to

Autoliv. As the Court found, in fiscal year 2020 Autoliv had net sales of $7.4

billion, seatbelt sales of over $2.5 billion, and total assets of $8.1 billion. Doc. 534

at 90. Given those figures, $4 million is trivial: Autoliv made $4 million in the

first five hours of 2020. For Autoliv’s 2020 fiscal year, $4 million represents only

0.049% of Autoliv’s total assets, 0.054% of Autoliv’s net sales, and 0.16% of

Autoliv’s seatbelt sales.11

      In its posttrial motion, Autoliv portrays the Court’s $100 million punitive

damages award as oppressive and excessive. But outside the courtroom, Autoliv

paints a much different picture of the Court’s Judgment. Autoliv has informed its

investors about this Court’s verdict. Autoliv Form 8-K at 6 (Jan. 28, 2022)



 Even $100 million is only 1.23% of Autoliv’s total assets in 2020; 1.35% of
11

Autoliv’s net sales in 2020; and 4.00% of Autoliv’s seatbelt sales in 2020.

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(attached as Exhibit 3). It told them Autoliv “cannot predict or estimate the

duration or ultimate outcome of this matter,” but it assured them that whatever the

outcome it “believes that the ultimate resolution of this lawsuit will not materially

impact Autoliv’s liquidity or its ability to conduct daily operations.” Id.

(emphasis added). The truth is that paying $100 million does not “materially”

affect Autoliv, and any representations to the Court otherwise are false.

      Autoliv also admits that “[i]t is reasonably possible that the Company may

have to pay the entire amount of damages awarded by the court” ($113.5 million).

Autoliv “believes that its insurance should cover all of the types of damages

awarded by the Court,”12 and, recognizing possible uncertainty, it promised to

“aggressively pursue” all potential coverage when the case ends.

                                   *      *      *

      Autoliv challenges the Court’s punitive damages award in three ways. First,


12
  This statement piqued Plaintiff’s counsel’s curiosity. In discovery, Autoliv
produced only one insurance policy (issued to Autoliv AB, a Swedish company,
but covering Autoliv Japan) that provided or possibly provided coverage for
Plaintiff’s claims. That policy excludes coverage for “fines penalties punitive
exemplary or treble damages or any other damages resulting from the
multiplication of compensatory damages.” That language, it seems to Plaintiff’s
counsel, plainly excludes coverage for punitive damages. If that plain reading is
correct and if Autoliv has insurance coverage for punitive damages as it says in its
January 28 SEC filing, then Autoliv must have another insurance policy. If that
additional insurance policy exists, that means Autoliv has once again withheld
important, relevant documents from Plaintiff and the Court.

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Autoliv argues that the award violates the U.S. Constitution. That argument has

three premises. One. Autoliv’s misconduct was reprehensible but not that

reprehensible. Two. By arranging the damages amounts just right, the ratio of

punitive to compensatory damages can be twisted to look constitutionally suspect.

Three. Looking only at the maximum civil penalty manufacturers could face for

flouting the federal minimum standards or the defect-reporting requirements in

2004, when Mr. Andrews’ Mazda3 was manufactured—and completely ignoring

that Congress has since septupled that maximum to $105 million, presumably

because the old amount did not sufficiently punish and deter multibillion-dollar

manufacturers—the Court’s punitive damages award looks excessive.

      Second, Autoliv half-heartedly argues that the Court’s punitive damages

award violates the Excessive Fines Clause of the Georgia Constitution based on a

1988 plurality opinion of the Georgia Supreme Court that has never been followed.

      Third, Autoliv once again argues that the Court cannot consider the financial

condition of Autoliv, Inc. when deciding the amount of punitive damages needed

to punish and deter Autoliv.

      All Autoliv’s arguments are meritless.




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      A.     The Court’s punitive damages award against Autoliv is
             constitutional.13

      About three decades ago, the U.S. Supreme Court created (or revived) a

“substantive due process” right against a “grossly excessive” punitive damages

awards. See TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. 443, 470 & n.*

(1993) (Scalia, J., concurring in the judgment) (refusing to join plurality opinion

because “it makes explicit . . . the existence of a so-called ‘substantive due process’

right that punitive damages be reasonable”).14 Autoliv claims the Court’s punitive


13
   If the Judgment is appealed, the Eleventh Circuit will review this Court’s
conclusions of law and its “interpretation of Georgia law and its application of the
law to the facts” de novo. Jackson Nat’l Life Ins. Co. v. Crum, --- F.4th ----, 2022
WL 336264, at *4 (11th Cir. 2022). The Eleventh Circuit will review this Court’s
findings of fact only for clear error. Id. Similar standards govern the review of the
Court’s order on Autoliv’s posttrial motion. See Cote v. Philip Morris USA, Inc.,
985 F.3d 840, 846 (11th Cir. 2021) (“We review de novo the constitutionality of a
punitive damages award and defer to the district court’s findings of fact unless
clearly erroneous.”).
14
   For preservation purposes, Plaintiff notes that the foundation of the “substantive
due process” right against “grossly excessive” punitive damages awards
supposedly arising from the Due Process Clause of the Fourteenth Amendment is
faulty. The constitutional rule of Gore, State Farm, their forerunners, and the
follow-on circuit cases is inconsistent with the text of the U.S. Constitution and the
principles of federalism. Plaintiff preserves the right to challenge the precedential
value of these decisions at the appropriate time. Put simply, the dissenters in
Gore—then-Chief Justice Rehnquist and Justices Scalia, Thomas, and Ginsburg—
were correct: the reasonableness (or excessiveness) of a punitive damages award is
a question the U.S. Constitution leaves to the States. See Gore, 517 U.S. at 598,
599 (Scalia, J., joined by Thomas, J., dissenting) (“Since the Constitution does not
make that concern [“about punitive damages that ‘run wild’”] any of our business,
the Court’s activities in this area are an unjustified incursion into the province of

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damages award violates this right.

      In Gore, the Supreme Court noted that “[e]lementary notions of fairness” in

its “constitutional jurisprudence dictate that a person receive fair notice not only of

the conduct that will subject him to punishment, but also of the severity of the

penalty that a State may impose.” BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 574

(1996). To decide “whether a punitive damages award is unconstitutionally

excessive,” the Court considers “three ‘guideposts’”: (1) “the degree of

reprehensibility of the defendant’s misconduct”; (2) “the ratio of the punitive

damages award to the actual or potential harm suffered by the plaintiff”; and (3)

the difference between the punitive damages award and the civil penalties

authorized or imposed in comparable cases.” Cote, 985 F.3d at 847.

      Here, Autoliv’s misconduct is highly reprehensible; the ratio of punitive to

compensatory damages (3.70:1) is low and comparable to other ratios the Eleventh

Circuit affirmed; and the punitive damages award is less than civil penalties

authorized or imposed in other cases. Autoliv thus had fair notice that its

misconduct, detailed in the Final Order and Judgment, could subject it to punitive




state governments.”) Gore, 517 U.S. at 607 (Ginsburg, J., joined by Rehnquist,
C.J., dissenting) (explaining that the Court’s decision “unnecessarily and unwisely
ventures into territory traditionally within the States’ domain”).

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damages of $100 million in Georgia. The punitive damages award is not “grossly

excessive” given Georgia’s legitimate interests in protecting people from defective

products and in ensuring that punitive damages punish, penalize, and deter.

             1.    Autoliv’s misconduct is reprehensible.

      The Supreme Court holds that the first guidepost—reprehensibility—is the

“most important indicium of the reasonableness of a punitive damages award.”

State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 419 (2003). For this

guidepost, the Court considers five factors:

      (1) whether “the harm caused was physical as opposed to economic”;
      (2) whether “the tortious conduct evinced an indifference to or a
      reckless disregard of the health or safety of others”; (3) whether “the
      target of the conduct had financial vulnerability”; (4) whether “the
      conduct involved repeated actions or was an isolated incident”; and
      (5) whether “the harm was the result of intentional malice, trickery, or
      deceit, or mere accident.”

Cote, 985 F.3d at 847 (citation omitted). No specific number of factors must be

present, but “reprehensibility grows more likely as more factors are present.” Id.

      The four relevant factors (financial vulnerability is not relevant) strongly

favor a finding of extreme reprehensibility.15



15
   Autoliv offers six “reasons” why its misconduct wasn’t that reprehensible. See
Doc. 543 at 15 (“[N]o fair view of the evidence suggests a high degree of
reprehensibility.”). These arguments (really quibbles with the Court’s factual
findings) aren’t new and were addressed in the Introduction and Part I.

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             i.     Autoliv caused extreme physical harm: Mr. Andrews’ death.

      Autoliv’s reprehensibility analysis makes absolutely no mention of the most

important factor: the fact that its misconduct killed Mr. Andrews. He didn’t break

a rib or lose a limb. He lost his life, because of Autoliv’s recklessness,

wantonness, and extreme lack of care that rises to the level of conscious in

difference. This factor fully supports a finding of extreme reprehensibility.

             ii.    Autoliv has been and continues to be indifferent to and
                    recklessly disregard the health and safety of Georgians.

      The Court’s Final Order and Judgment spends 11 pages laying out the

evidence supporting its finding that “Autoliv’s conduct amounted not only to an

entire want of care and conscious indifference to the consequences,” but also to

“reckless and wanton misconduct.” Doc. 534 at 86; id. 77-87; see also supra

Part I. Plaintiff incorporates those findings here.

      Autoliv’s misconduct is especially egregious because it sold a safety

device—something people rely on to keep themselves and their loved ones safe—

that is useless in foreseeable crashes when the airbag does not deploy. Innocent

people still put this Autoliv seatbelt on every day unaware that it will not restrain

them when they need it the most. Autoliv designed, manufactured, and sold a

safety device that it knew was indefensibly defective, while allowing people to

unwittingly rely on it, and still refuses to provide a warning. This factor heavily

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favors a finding of extreme reprehensibility.

             iii.   Autoliv’s misconduct is ongoing and may be repeated.

      The Court’s Final Order and Judgment recognizes Autoliv’s continuing duty

to warn and its failure every day to provide a warning, despite its knowledge that

people in the Mazda3 are in danger. Doc. 534 at 86-87. Autoliv’s corporate

representative also testified that Autoliv has sold seatbelts even weaker than the

one in the Mazda3, and it would do so again in the future. 10/7/21 PM Trial Tr.

78/2-4, 76/18-21. This factor heavily favors a finding of reprehensibility.

             iv.    Autoliv’s misconduct that killed Mr. Andrews was
                    equivalent to intentional misconduct.

      As this Court noted in its Final Order and Judgment, Autoliv’s corporate

representative at trial David Prentkowski16 twice admitted that Autoliv’s failure to

mitigate the avoidable, known risks associated with its seatbelt was, practically

speaking, intentional conduct. Doc. 534 at 83-84. A defendant rarely admits

intentional conduct. The Court should give this admission heavy weight.

      Allowing people to rely on a seatbelt that Autoliv knows will not restrain

them in a foreseeable 35-mph wreck also involves an element of deceit that weighs



16
   Autoliv Japan chose David Prentkowski to testify as its corporate representative
at trial (and in a Rule 30(b)(6) deposition) even though he works for Autoliv ASP,
another subsidiary of Autoliv, Inc. Doc. 534 at 94.

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in favor of a finding of reprehensibility.

             2.     The 3.70 to 1 ratio of punitive to compensatory damages is
                    not constitutionally excessive.

      The next guidepost is “the disparity between the harm or potential harm

suffered by [the plaintiff] and [the] punitive damages award.” Gore, 517 U.S. at

575; see also Williams v. First Advantage LNS Screening Sols. Inc., 947 F.3d 735,

750 (11th Cir. 2020).

      Autoliv argues that to find the punitive to compensatory damages ratio, the

Court can only consider the personal injury damages suffered by Mr. Andrews in

the roughly four minutes it took him to die. That is, Autoliv argues that the only

damages that matter are those apportioned to Autoliv for Plaintiff’s claims on

behalf of Mr. Andrews’ estate. Autoliv argues that because wrongful death

damages alone cannot support punitive damages, they are not “harm” that the

Court can consider in its constitutional analysis. Autoliv is wrong. The question is

not whether punitive damages are recoverable on a wrongful death claim (they are

not); rather, the question is what the court may consider in determining the

disparity between the harm and the award.

      That requires the Court to consider the “actual or potential” harm from

Autoliv’s misconduct. Gore, 517 U.S. at 575 (emphasis added). Here, Autoliv’s

misconduct caused the ultimate “actual harm”: Mr. Andrews’ tragic death. The

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Court placed a value on that harm of $25 million. Those wrongful death damages

are compensatory damages17 that may be considered for purposes of this analysis.

      The Court must also consider the “potential harm that might result from the

defendant’s conduct.” TXO, 509 U.S. at 460 (considering potential harm to uphold

a $10 million punitive damages award where actual harm was $19,000). The

“potential harm” of hitting the steering wheel while wearing a useless seatbelt is

any number of catastrophic injuries.

      Take, for example, a catastrophic brain injury that left Mr. Andrews (or

another Georgia citizen) in a persistent coma, totally and permanently disabled for

the rest of his natural life. See 10/6/21 PM Trial Tr. 46/5-9 (noting 20 inches of

spool out can cause “severe head and neck injuries”). Indeed, Autoliv cites a case

in which the plaintiff suffered that exact fate: Bibbs v. Toyota Motor Corp. 85

S.E.2d 850, 852 (Ga. 2018) (Blackwell, J.).

      Bibbs is instructive for two reasons. One. When Delia Bibbs’ case against

Toyota was tried almost 30 years ago, a Georgia jury returned a verdict awarding

her $36 million in compensatory damages, including “more than $400,000 for past

medical expenses, $6 million for future life care expenses, and $30 million for past



17
  See, e.g., Bagley v. Shortt, 410 S.E.2d 738, 738-39 (Ga. 1991) (categorizing
wrongful death damages as compensatory).

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and future pain and suffering.” Bibbs, 85 S.E.2d at 852. Using Bibbs as a yard

stick, the “potential harm” of Autoliv’s misconduct is more than $25 million.

      Put differently, had Autoliv’s misconduct left Mr. Andrews in a coma,

totally and permanently disabled, Autoliv could not dispute that all compensatory

damages awarded for that injury get included in the damages ratio. Had Mr.

Andrews suffered such an injury, a reasonable factfinder could easily have

awarded compensatory damages of $25 million or more. Because such an injury is

a “potential harm” of Autoliv’s misconduct, it was not error for the Court to

include the wrongful death damages when calculating the damages ratio.

      Second, the Bibbs opinion explains that the “harm” compensated in a

wrongful death case is essentially the same as the “harm” in a personal injury case

involving total and permanent disability. Specifically, the Georgia Supreme Court

held that the damages in a wrongful death case are “substantially the same as the

kinds of damages that may be recovered in personal injury actions.” Id. at 856.

Wrongful death damages “cover the losses suffered by the injured person and

include economic components, such as lost earnings, and non-economic

components, such as loss of enjoyment of life.” Id. Because wrongful death

damages compensate for substantially the same losses as personal injury damages,

wrongful death damages can be considered as “harm” for purposes of the second


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guidepost of the constitutionality analysis.

      Two. To argue that the ratio should include only those claims that allow

punitive damages, Autoliv relies on a few out-of-circuit cases. Doc. 543 at 21

n.21. But those cases provide almost no analysis for their conclusions and thus

have no persuasive value. E.g., Zhang v. Am. Gem Seafoods, Inc., 339 F.3d 1020,

1044 (9th Cir. 2003) (no analysis); Zimmerman v. Direct Fed. Credit Union, 262

F.3d 70, 82 n.9 (1st Cir. 2001) (statement without analysis). Other courts,

however, have considered concluded that the Supreme Court’s precedent permits

the aggregation of all compensatory damages under the second guidepost.

      For example, in Fastenal Co. v. Crawford, then-district judge Amul Thapar

(now on the Sixth Circuit) noted that the few circuit decisions he found “analyzing

the constitutionality of punitive damage awards on individual claims” differed in

their results. 609 F. Supp. 2d 650, 660 (E.D. Ky. 2009). Because the Supreme

Court’s punitive damages jurisprudence has consistently held that “potential harm”

is relevant to the damages ratio, Judge Thapar concluded that “[i]f a court is not

limited to compensatory damages that actually occurred in calculating the ratio”—

and the Supreme Court’s cases make clear it is not—“it follows that a court is not

confined only to the compensatory damages under particular claims and instead

can look at damages found by a jury on related claims.” Id. at 661. That is


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especially true where, as here, the same misconduct gives rise to multiple causes of

action. See id. at 661 (“State Farm, [Gore], and TXO all suggest that a court can

aggregate compensatory damages from multiple related causes of action when

comparing compensatory damages to punitive damages.”). Here, the Court should

follow Judge Thapar’s well-reasoned decision and conclude that the damages ratio

can be calculated using the aggregate amount of compensatory damages awarded

for all of Plaintiff’s related causes of action arising from Autoliv’s misconduct.

      The Court also should calculate the damages ratio using the full amount of

the compensatory damages award, not just the amount apportioned to Autoliv. All

compensatory damages should be included because under Georgia CVS Pharmacy,

LLC v. Carmichael, 865 S.E.2d 559 (Ga. Ct. App. 2021), Autoliv is 100%

responsible for those damages. The wrongful death damages also should be

included because (1) under Bibbs, wrongful death damages closely approximate a

potential harm caused by Autoliv’s misconduct (a persistent coma with total and

permanent disability), and (2) wrongful death damages are akin to personal injury

damages and are an accurate estimation of the actual harm that Autoliv’s

misconduct caused. Applying this rubric, the damages ratio is 3.7:1. That is

within the 4:1 ratio that the Supreme Court has provided as “instructive” for the

constitutionality analysis. State Farm, 538 U.S. at 425.


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      Autoliv’s final attempt to constrain the punitive damages award seizes on

language in the Eleventh Circuit’s decision in Williams, derived from language in

State Farm, to argue that even if this Court includes all compensatory damages—

whether that is $13.5 million or $27 million—the punitive damages award should

be capped at that amount because the compensatory damages award is

“substantial.” Doc. 543 at 19-20, 25-26. Last year, the Eleventh Circuit rejected

that exact argument. In Cote, Philip Morris argued that punitive damages should

be capped at $6.25 million, the amount of the “substantial” compensatory damages

award. 985 F.3d at 849. The Eleventh Circuit held there were three problems with

that argument. First, the Eleventh Circuit “has characterized the language [in State

Farm] Philip Morris relies on as dicta.” Id. Second, “even if [the language in State

Farm] weren’t dicta, the very next sentence in State Farm says the precise award

in each case ‘must be based upon the facts and circumstances of the defendant’s

conduct and the harm to the plaintiff.’” Id. (quoting State Farm, 538 U.S. at 425).

Third, “requiring a 1-to-1 ratio whenever a defendant asserts that the compensatory

damages are ‘substantial’ would impose a ‘bright-line ratio’ that the Supreme

Court has expressly declined to adopt.” Id. In Cote, the Eleventh Circuit affirmed

a $20.7 million punitive damages award with a damages ratio of 3.3-to-1 because it

was not constitutionally excessive. Id. at 849, 850. Here, the ratio is similar—


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3.7:1—and is also not constitutionally excessive.

             3.    The Court’s punitive damages award is consistent with
                   available civil penalties.

      The third guidepost looks at “the difference between the punitive damages

awarded . . . and the civil penalties authorized or imposed in comparable cases.”

State Farm, 538 U.S. at 418. The Court should “accord ‘substantial deference’ to

legislative judgments concerning appropriate sanctions for the conduct at issue.”

Gore, 517 U.S. at 583. Even so, “[t]his guidepost is ‘accorded less weight . . . than

the first two guideposts.” Cote, 985 F.3d at 850.

      Autoliv says that the closest comparable civil penalties are those authorized

by 49 U.S.C. § 30165(a) for violating certain aspects of the National Traffic and

Motor Vehicle Safety Act of 1966, as amended. Doc. 543 at 26-27. Autoliv

correctly notes that in 2004, when Mr. Andrews’ Mazda3 was manufactured, $15

million was maximum civil penalty under that section. Id. at 27.

      Once again, however, Autoliv omits relevant context. First, as part of the

Safety Act, § 30165 is not the only relevant civil penalty statute. Congress has

made clear the Federal Motor Vehicle Safety Standards are only “a minimum

standard for motor vehicle or motor vehicle equipment performance.” 49 U.S.C.

§ 30102(10). Congress has also made clear that compliance with those minimum

standards “does not exempt a person from liability at common law.” 49 U.S.C. §

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30103(e). Because the Safety Act leaves manufacturers still subject to the

common law, that means § 30165 is not the only relevant civil penalties statute:

Georgia’s punitive damages statute is also a relevant statute for comparison.

      Products liability cases are one of the very few instances in which Georgia

law allows for uncapped punitive damages. Applying that statute, the Georgia

Court of Appeals in 1994 concluded that a $101 million18 punitive damages award

was “not unreasonable and rationally served the purpose of punishing and

deterring” given the deterrent effect that the award was supposed to achieve, “the

public nature of the harm in this case, the corporate defendant . . . involved, and the

protection afforded by the statutory ‘one award’ provision” despite the

manufacturer’s compliance with the minimum federal safety regulations. Gen.

Motors Corp. v. Moseley, 447 S.E.2d 302, 312 (Ga. Ct. App. 1994) (physical

precedent). Moseley thus provided Autoliv adequate notice that it could face a

punitive damages award of $100 million if its conduct warranted it.

      Second, a manufacturer that knows about a safety-related defect but does not

notify the appropriate federal authority and the “owners, purchasers, and dealers of

the vehicle or equipment of the defect or noncompliance” can face civil penalties.



18
  Using a conservative average inflation rate of 2.15% (based on the Consumer
Price Index), $100 million in 1994 would be roughly $181.6 million today.

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49 U.S.C. § 30118(c). That obligation is ongoing and did not end when the

product was sold. And today, unlike in 2004, those penalties can be up to $105

million under § 30165(a). Thus, the Court’s $100 million punitive damages award

does not, as Autoliv claims, “substantially exceed” the available civil penalties.

Contra Doc. 543 at 27.

      Because the Court’s punitive damages award is comparable to the civil

penalties authorized or imposed in comparable cases, this guidepost favors a

finding that the punitive damages award is not constitutionally excessive.

      B.     The Court’s punitive damages award does not violate the
             Excessive Fines Clause of the Georgia Constitution.

      The Excessive Fines Clause of the Georgia Constitution does not prohibit

the Court’s punitive damages award. The Georgia Supreme Court has never held

that the Excessive Fines Clause applies to punitive damages in a civil case.

Autoliv cites only the plurality opinion in Colonial Pipeline Co. v. Brown, 365

S.E.2d 827 (Ga. 1988), for its argument that the Excessive Fines Clause applies to

punitive damages. But Colonial Pipeline contains no such holding.

      To be sure, Colonial Pipeline confusingly says “[w]e hold that the excessive

fines clause . . . applies to the imposition of punitive damages in civil cases.” 365

S.E.2d at 831 (emphasis added). But only three of seven justices joined that




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portion.19 The plurality’s statement is not binding Georgia precedent. See

Schoicket v. Georgia, 865 S.E.2d 170, 176 (Ga. 2021) (“Language that sounds like

a holding—but actually exceeds the scope of the case’s factual context—is not a

holding no matter how much it sounds like one.”).20

      Since 1988, the Georgia Supreme Court has referenced the Excessive Fines

Clause of the Georgia Constitution and punitive damages together only twice. In

both, the Court rejected the excessive fines challenge practically out of hand.

      The first case is Hospital Authority of Gwinnett County v. Jones, 386 S.E.2d

120 (Ga. 1989), affirmed & reinstated on remand, 409 S.E.2d 501 (Ga. 1991).

There, the Court cited Colonial Pipeline for the proposition that courts can




19
   See 365 S.E.2d at 833 (Weltner, J., concurring specially) (concurring in the
“judgment reversing the award of punitive damages” but doing so because “such a
result properly is reached without considering the scope of our state constitution’s
prohibition of unusual punishments”); id. (Clarke, P.J., dissenting and joined by
Gregory & Hunt, JJ.) (dissenting from the opinions of the plurality and Justice
Weltner because “the award of punitive damages by the jury in this case is
authorized by law”).
20
   Autoliv notes that two Georgia Supreme Court cases have “cited the Colonial
Pipeline plurality with approval.” Doc. 543 at 28 n.31. Not exactly. Each case
cites Colonial Pipeline in a footnote string cite to illustrate the truism that state
courts can interpret a state constitutional provision that parallels the federal
constitution so that it affords greater protection to the state’s citizens. See
Democratic Party of Ga. v. Perdue, 707 S.E.2d 67, 74 n.12 (Ga. 2011); Powell v.
Georgia, 510 S.E.2d 18, 22 n.3 (Ga. 1998). Regardless, Colonial Pipeline’s
inclusion in a string cite cannot turn nonbinding dicta into binding precedent.

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consider the relationship between punitive and actual damages because it may be

relevant to the question of excessiveness. Id. at 123. Given the facts of that case,

the Court found no violation of the Excessive Fines Clause. Id.

      The second case is Mack Trucks, Inc. v. Conkle, 436 S.E.2d 635 (Ga. 1993).

There, the defendant challenged the punitive damages award as excessive under

the Due Process Clauses of the Georgia and U.S. Constitutions; the Eighth

Amendment to the U.S. Constitution; and the Excessive Fines Clause of the

Georgia Constitution. Id. at 640. Emphasizing its holdings in Jones, the Supreme

Court held that the potential risk of harm from Mack Trucks misconduct supported

punitive damages. Id. The entire excessiveness analysis is one paragraph.

      No majority of the Georgia Supreme Court has ever reversed a punitive

damages award under the Excessive Fines Clause of the Georgia Constitution. No

case after Colonial Pipeline has seriously considered or addressed that argument.

Clear and convincing (and often unrebutted) evidence supports the Court’s

punitive damages award. That award does not violate the U.S. Constitution, nor

does it violate the Excessive Fines Clause of the Georgia Constitution.

      C.     The Court properly considered evidence of the financial condition
             of Autoliv, Inc.

      The Court was well within its discretion to consider the financial condition

of Autoliv, Inc. in determining the appropriate amount of punitive damages.

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Autoliv concedes that it made and lost this same argument in a motion in limine.

See Doc. 543 at 30. Because Autoliv’s Rule 59(e) motion cannot be used “to

relitigate old matters,” the Court should reject Autoliv’s repeated request to

completely disregard the evidence of Autoliv, Inc’s financial condition and revise

the punitive damages award. See Michael Linet, 408 F.3d at 763.21

III.   THE COURT’S ALLOCATION OF FAULT TO AUTOLIV IS NOT
       CLEARLY ERRONEOUS.

       The “credible” and “undisputed” evidence proved that Bosch played no part

in the nondeployment of the Mazda3’s airbag. All fault for the airbag’s

nondeployment rests with Mazda. Doc. 534 at 70-73.

       At trial, Autoliv asked this Court to enter “a ‘defense verdict’ only.” Doc.

534 at 58 n.54. During closing argument, Autoliv claimed that all blame for Mr.

Andrews’ injuries and death lay with Mr. Andrews himself, Mazda, and Bosch.


21
  Autoliv speculates that the Georgia Supreme Court would prohibit evidence of a
parent company’s financial condition in a case involving a subsidiary absent
piercing of the corporate veil. Doc. 543 at 31-32. That speculation is a red
herring. Questions of “relevance and admissibility of evidence in a case pending
in federal court” are generally “governed by the Federal Rules of Evidence”; and
while “state-court evidentiary rulings are nonetheless persuasive authority that the
Court may look to for guidance,” the Court’s discretion is not limited by them. See
Doc. 534 at 89 n.72. Autoliv, Inc. also falsely represented that “if in fact any
Autoliv entity was involved in the design, testing, manufacture, or supply of
components of the occupant restraint system …, it was Autoliv Japan, Ltd.” See
Doc. 108 (stating Plaintiff dismissed other Autoliv entities in reliance on this
representation). Autoliv should not profit from that dishonesty.

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      The Court considered the evidence and concluded that “Autoliv has not

established a rational basis for apportionment as to Mr. Andrews and Bosch, but

has established a rational basis for apportionment as to Mazda.” Doc. 534 at 64.

Autoliv claims that the Court committed a “clear error” that if left uncorrected will

result in “a manifest injustice” by not allocating some fault to Bosch. See Doc. 543

at 2, 33-34. But the Court made no error—much less a “clear error.”

      Chris Caruso was the only expert called to testify about the airbag defects.

He testified that the Autoliv airbag did not deploy because the electronic front

sensor got disconnected before it could send a signal to the car’s airbag control

module (i.e., the blackbox). 10/6/21 AM, Trial Tr. 44/18-24, 87/12-24; Doc. 534

at 71-72. He testified that Mazda, not Bosch, was responsible for that failure. His

testimony on this issue was “credible” and “unrebutted.” Id. at 73. Without any

other evidence, the Court had to conclude that Autoliv did not prove that Bosch

was at fault. The Court’s allocation of fault is not clearly erroneous, and Autoliv’s

request for the Court to “change its mind” about that allocation should be denied.

                                 CONCLUSION

      Autoliv’s posttrial motion should be denied.




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Respectfully submitted on February 21, 2022.

                                 BUTLER PRATHER LLP

                                 /s/ James E. Butler, Jr.
                                 JAMES E. BUTLER, JR.
                                   jim@butlerprather.com
                                   Georgia Bar No. 099625
                                 MICHAEL F. WILLIFORD
                                   michael@butlerprather.com
                                   Georgia Bar No. 243464
                                 2719 Buford Highway
                                 Atlanta, Georgia 30324
                                 (404) 321-1700
                                 (404) 321-1713 Fax

                                 CANNELLA SNYDER LLC

                                 TEDRA L. CANNELLA
                                   tedra@cannellasnyder.com
                                   Georgia Bar No. 881085
                                 RORY A. WEEKS
                                   rory@cannellasnyder.com
                                   Georgia Bar No. 113491
                                 315 W. Ponce de Leon Ave, Suite 885
                                 Decatur, GA 30030
                                 (404) 800-4828
                                 (404) 393-0365

                                 BALLARD & FEAGLE, LLP

                                 WILLIAM L. BALLARD
                                  bill@ballardandfeagle.com
                                  Georgia Bar No. 035625
                                 GREGORY R. FEAGLE
                                  greg@ballardandfeagle.com
                                  Georgia Bar No. 256913
Case 1:14-cv-03432-SCJ Document 554 Filed 02/21/22 Page 37 of 39




                                Building One, Suite 100
                                4200 Northside Parkway NW
                                Atlanta, GA 30327
                                (404) 873-1220

                                ATTORNEYS FOR PLAINTIFF
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 5.1(B) and 7.1(D), I hereby certify that the

foregoing filing complies with the applicable font and size requirements and is

formatted in Times New Roman, 14-point font.



                                         /s/ James E. Butler, Jr.
                                         JAMES E. BUTLER, JR.
                                           jim@butlerprather.com
                                           Georgia Bar No. 099625
      Case 1:14-cv-03432-SCJ Document 554 Filed 02/21/22 Page 39 of 39




                         CERTIFICATE OF SERVICE

       This is to certify that on February 21, 2022, I electronically filed the
foregoing pleading with the Clerk of the Court using the CM/ECF system which
will automatically send email notification of such filing to the following attorneys
of records follows:
                                Douglas G. Scribner, Esq.
                                 Keith R. Blackwell, Esq.
                               Jenny A. Hergenrother, Esq.
                                William J. Repko III, Esq.
                                   Alston & Bird LLP
                                   One Atlantic Center
                               1201 West Peachtree Street
                                 Atlanta, GA 30309-3424



                                          /s/ James E. Butler, Jr.
                                          JAMES E. BUTLER, JR.
                                            jim@butlerprather.com
                                            Georgia Bar No. 099625
